     Case 8:16-cv-00639-JVS-KES Document 14 Filed 06/17/16 Page 1 of 2 Page ID #:79



 1
      Harijot S. Khalsa, Esq. (SBN 277242)
 2    Debbie P. Kirkpatrick, Esq. (SBN 207112)
      Damian P. Richard, Esq. (SBN 262805)
 3
      SESSIONS, FISHMAN, NATHAN & ISRAEL, L.L.P.
 4    1545 Hotel Circle South, Suite 150
 5
      San Diego, CA 92108-3426
      Tel: 619/758-1891
 6
      Fax: 619/296-2013
 7    hskhalsa@sessions.legal
      dkirkpatrick@sessions.legal
 8
      drichard@sessions.legal
 9

10
      Attorney for CMRE Financial Services, Inc.

11
                            UNITED STATES DISTRICT COURT
12
                          CENTRAL DISTRICT OF CALIFORNIA
13

14    KYLE ANTHONY PEREZ,                          ) Case No.: SACV16-00639 JVS KES
                                                   )
15                                                 )
                   Plaintiff,                      ) JOINT NOTICE OF SETTLEMENT
16          vs.                                    )
                                                   )
17                                                 )
      CMRE FINANCIAL SERVICES,                     )
18                                                 )
      TRANSUNION,                                  )
19                                                 )
                   Defendants.                     )
20                                                 )
                                                   )
21                                                 )
22
            Notice is hereby given that this matter has been settled in its entirety. The
23

24    parties are currently finalizing a settlement agreement and anticipate filing a
25
      stipulation for dismissal of the action with prejudice within 30 days.
26

27

28

                                        Joint Notice of Settlement

                                                    1
     Case 8:16-cv-00639-JVS-KES Document 14 Filed 06/17/16 Page 2 of 2 Page ID #:80



 1
      Dated: 6/17/2016
 2
                                   /s/Kyle Anthony Perez
 3                                 Kyle Anthony Perez
                                   Pro Se Plaintiff
 4

 5    .
 6
      Dated: 6/17/2016             SESSIONS, FISHMAN, NATHAN & ISRAEL, L.L.P.
 7
                                   /s/Harijot S. Khalsa
 8                                 Harijot S. Khalsa
                                   Attorney for Defendant
 9
                                   CMRE Financial Services, Inc.
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                    Joint Notice of Settlement

                                                2
